PX37
             '136197187 John Hyman                           1/17/20181:05:38     Do you have any market updates on cr ypto could
                                                             PM(UTC+O)            you include me on them please
       213
                                     436197187 John Hym.Jn   1/18/2018 2:17:19    will do
                                                             AM(UTC+O)
       214
             436197187 John Hyman    2                       1/19/20 18 6:41:48   We gave you gur.; a very good allocation
                                                             AM(UTC-t-0)
       215
                                     43619718 7 John Hyman   1/19/2018 8:33:49    Yes - thank you.        spoke out of turn. She is
                                                             AM(UTC-t-0)          on the marketing side of things...
       216
             436197187 John Hyman                            1/19/20 18 8:35:00   lt'sok I know the game well
                                                             AM(UTC+O)
       217
             436197187 John Hyman                            2/6/2018 7:30:36     How are you faring -what do you make of market
       218                                                   AMIUTC+Ol
                                     436197187 John Hyman    2/ 6/2018 7:33:45    Very rough market. Am at the Sa toshi
                                                             AM(UTC+O)            Round.Jtable in Cilncun w ith the core cryp to folks,
                                                                                  and while the HODl ment.ility is strong, people
                                                                                  are concerned. Everyone sees fundamental
                                                                                  support for BTC and ETH at some price. Many
                                                                                  feels most ALTS beyond t op 2S h.Jve zero int rinsic
                                                                                  value and can go all the way.
       219
                                     436197187 John Hyman    2/ 6/2018 7:34:29    As stops are blown, people are being margi n
                                                             AM( LJTC;.OJ         called and oolal er1al is being liquidated. Broader
                                                                                  market sell off not helping either .
       220
                                     436197187 John Hyman    2/6/2018 7:36:06     We bough some last frlday, and bought a bit mOfe
                                                             AM(UTC+O)            today. Strong support for Eth around 400. BTC
                                                                                  people feel like 3K isa st rong fundamenWI
       221
                                     43619718 7 John Hyman   2/ 6/2018 7:36:43    Let's technical trades in the market, so they act in
                                                             AM(UTC+O)            unison when seeing same signals. lot's of RSI
       222                                                                         rNf'nmf>nt;,lih<
                                     436197187 John Hyman    2/6/2018 7:37:31     The other contributing factor is the regulators SEC
                                                             AM(UTC+O)            getting hyper active last two weeks, w hich has
                                                                                  caused many traditional player s that were fooling
                                                                                  aroud i n the space to pause pending further
       223
                                     436197187 John Hyman    2/6/2018 7:38 :41    For TON, last week the se-condary market was c.
                                                             AM(UTC+O)            O. 70 and holding steady. Still unmet demand out
                                                                                  there and folks were willing l o pay a premium for
       224
             436197187 John Hyman                            2/6/2018 7:39 :30    Thanks please keep me posted on ton
       225                                                    ··•1 rrr +n1




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                                    436197187 John Hyman    2/6/2018 7:39:37      A chunk of the market believes that you will not
                                                            AM(UTC+O)             have a second sale in march, and this will be the
       226
             436197187 John Hyman                           2/6/2018 7:39:54      Got it
       227                                                  AM UTC+O
                                    43619718 7 John Hyman   2/6/2018 7:40:10      Good because the supply is constra ined. Bad
                                                            AM(UTC+O)             because then you need !>Orne other pricing
       228
                                    436197187 John Hyman    2/6/2018 7:42:02      The, e have been a bunch of K ~ms and fa ke offels
                                                            AM(UTC+O)             of TON - people are ca utious. Some thought part
                                                                                  o f the selloff last week was due to buyers eKiting
                                                                                  into Fiat to buy TON, but I don't believe that and it
                                                                                  w ould not have m oved the market.
       229
             436197187 John Hyman                           2/6/2018 7:42:15      No it's not that big
       230                                                  AM UTi +m
             436197187 John Hyman                           2/6/2018 7:42:44      Have you seen any ton trades yesterday
       231                                                  AM UTC+O
                                    43619718 7 John Hyman   2/6/2018 7:4S:11      Not that I am aware, but the market is not
                                                            AM(UTC+O)             tr ansparrentand very fragmented. With your
                                                                                  docs, it's impossible todo a clea n transfer, w the
                                                                                  trading I've seen has been relationship based, as
                                                                                  you are essentially getting married t o the

       m                                                                          counterparty for 18 months. Really interesting.

                                    436197187 John Hyman    2/6/2018 7:46:21      When are you sta te-side, would love to c.atch up.
       233                                                  AM,,..,., ,..,
             436197187 John Hyman                           2/6/2018 7:46:34      Yes 111 try to come there soon
       234                                                  AM ,,..,.+m
             436197187 John Hyman                           2/6/201810:18:10      How are things today
                                                            PM(UTC+O)
       235
                                    436197187 John Hyman    2/ 7/ 2018 6:20 :23   Both markets up, ilnd wme are optimistic. The
                                                            AM(UTC+O)             core crypto lolh still thi nk this a bull tra p and that
                                                                                  prices ca n go much lower. They went through this
                                                                                  in 201S-16and think, w e can be sideways for
                                                                                  months. Surprisingly, most think we ca n get back
                                                                                  to $20K by end of year . l otsofrelatail shaken out,
                                                                                  and the SEC/CFTC t estimony is sc.aring the shit out
                                                                                  o f people as they are not leaving any sort of
                                                                                  fa ir way for ICOs - Reg O or othe,wise.

       236
                                    436197187 John Hyman    2/7/2018 6:20 :50     Nothing on TON today - people just want to fund
       237                -                                 AMIUTC-+-0            and et it done.
             436197187 John Hyman                           2/7/2018 7:49:23      It's in great shape
       238                                                  AM lJTC+O




FOIA Confidential Treatment Requested by Telegram Group Inc.                                                                                 TG-007-00000727
                                     4 36197187 John Hyman    2/8/2018 6:27:12    Loll of people running around today looking for
                                                              AM(UTC+O)           allocations - looks like you denied all of NY and
                                                                                  :s.omeothers on a KVC b.Js.is. All of tha t demand
                                                                                  Rowing in to the secondary market. Some willing
                                                                                  to pay upto$1.
       239
                                     4 36197187 John Hyman    2/8/2018 6:29:04    If you've got some orpha ned supply from the
       240                 -                                  AMILITC-t-01        denials we have more aooetite :I
             <l36197187 John Hyman                            2/8/201810:04:35    Thanks for update all good
                                                              AM(UTC+O)
       241
             436197187 John Hyman                             2/8/201811:09:45    How was today market wise
                                                              PM(UTC+O)
       242
                                     4 3619 7187 John Hyman   2/9/2018 4:01:05    Much the same, lots offolksscr.1mbling to get
                                                              AM(UTC+O)           .allocations, induding those t ha t were denied over
                                                                                  the last few days ( people were using the deal as a
                                                                                  calling card t o their LPs a nd new potent ial LPs on
                                                                                  their ability to get t ight allocations, and some of
                                                                                  them inevitably look weak for getting deo~ ). Bid
                                                                                  in the .70-1
                                                                                  range, w it h some ability to guarantee title.
       243
             '136197187 John Hyman                            2/9/2018 4:46:04    Thanks
       244                                                    AMIUTC+OI
             436197187 John Hyman                             2/9/2018 5:01:31    phone call
       245                                                    AM lJTC;.0
             436197187 John Hyman                             2/9/2018 5:02:4 4   Can you speak may have som e tokens as some
       246                                                    AM                  one fell a foul o f thin s
             436197187 John Hym.an                            2/9/2018 5:04:07    phone call
       247                                                    AM lJTC;.0
                                     436197187 John Hyman     2/9/2018 6:01:02    phone call
       248                                                    AM lJTC;.Q
                                     43619718 7 John Hyman    2/9/2018 6:03:52    John - we'd like to take the full Smm. We can
                                                              AM(UTC-+-0)         resign t he purchase agreem ent ASAP, and wire
                                                                                  the original 10mm tomorrow,
                                                                                  but would need a few days to m ove c.ash around
                                                                                  to fund t he rest. What's the latest that w e can
       249
             436197187 John Hyman                             2/9/2018 6:06:44    Onit
       250                                                    AMlllTC-+-01
             436197187 John Hyman                             2/9/2018 6:12:03    phone ca ll
       251                                                    AM UTC+0
             436197187 John Hyman                             2/9/2018 6:15:32    phone call
       252                                                    AM ,..r,-, ,n
                                     4 36197187 John Hyman    2/9/2018 6:47:13    Just to confir m - we w ilt wire 10mm tomoirow
       253                                                    AM ' ".-+m          .and bill.an e hu he th. l nrr ..rt?




FOIA Confidential Treatment Requested by Telegram Group Inc.                                                                              TG-007-00000728
             '136197187 John Hyman                           2/9/2018 6:48:S2     Yes
       254                                                   AMIUTC+O
                                     436197187 John Hyman    2/9/2018 8:SS:56     John - is your team sending me something
                                                             AM(UTC+O)            overnight, or should I just re-sign the signature
                                                                                  page of the purchase agreement with $15MM
       255
                                     43619718 7 John Hyman   2/9/2018 8:58:S6                    '"··""'
                                                                                  I will likely need to add aone US fund rep letter - is
                                                             AM(UTC+O)            that going to be ol<.? - last minute/ middle of the
       256
             436197187 John Hyman                            2/9/2018 9:15:04     Please see email
       257                                                   AM,,..,,.. ,,.. ,
                                     43619718 7 John Hyman   2/9/2018 9:15:10     responded
       258                                                   AMIUTC+O
                                     4361971 87 John Hyman   2/9/2018 4:08:07     John - standing by. Have riot seen the docs come
       259                                                   PMIUTC+OI            throu h vel
             436197187 John Hyman                            2/9/2018 4:24:41     Should be with you
       260                                                   PM/UTC+OI
                                     436197187 John Hyman    2/9/2018 4:24 :S6    yes- sending executed now.
       261                                                   PM'' "r+m
             436197187 John Hyman                            2/9/2018 4:40:52     Thanks
       262                                                   PM"IT.--+0
             436197187 John Hyman                            2/9/2018 7:39 :S7    Any grey market activity in TON
       263                                                   PM/UTC+O
                                     436197187 John Hyman    2/9/2018 8:21:25     Everyone running around wiring today. Have not
                                                             PM(UTC+O)            heard anything new. Will ping if I see something.
       264
             436197187 John Hyman                            2/12/2018 8:29:33    Anything new
                                                             PM(UTC+O)
       265
             436197187 John Hyman                            2/13/2018 8:06:01    Prke wise where' s activity
                                                             AM(UTC+o)
       266
                                     436197187 John Hyman    2/13/2018 8 :12:08   .6Q.70 still
                                                             AM(UTC+O)
       267
                                     436197187 John Hyman    2/lS/2018 6:51:14    Any chance you are in NY end of this month? Am
                                                             AM(UTC+O)            in town 24-27. And would love to cross paths. We
                                                                                  are closing an acquisition of a 8D • can be helpful
                                                                                  to you if that's needed in the next round of the
                                                                                  process or if you are Nsanctioning" some
                                                                                  S@COndary sales and need a BO in the middle.
                                                                                  Hope you get a few da ys off now.
       268
                                     436197187 John Hyman    2/16/201811:l 7:31   II
                                                                                 keep hearing about a two-tiered second round.
                                                             PM(UTC-+O)         Are you sharing any insight / docs yet?
       269




FOIA Confidential Treatment Requested by Telegram Group Inc,                                                                               TG-007-00000729
             '136197187 John Hyman                          2/16/201811:22:26     phone call
                                                            PM(UTC+0)
       270
             436197187 John Hyman                           2/23/20181:47:06      Hi       have yoo seen any grey market gram
                                                            PM(UTC-+0)            activity if so at what prices
       271
             436197187 John Hyman                           2/23/2018 9:37:36     Updat ed telegram primer
                                                            PM(UTC-+0)
       272
             436197187 John Hyman                           2/23/2018 9:37:45     Things going very well
                                                            PM(UTC-+0)
       273
             436197187 John Hyman                           2/23/2018 9:38:03
                                                            PM(UTC-+0)
       274
                                     436197187 John Hyman   2/24/201812:27:S6 lots or activity. It's all between .70-.90 cents. The
                                                            AM(UTC+0)         ~~:eads are wide too w ith middle men taking 7-
       275
                                     436197187 John Hyman   2/24/201812:32:05 How are you collecting indica tions of interest/
                                                            AM (UTC+0)            allocations for this round? W IH this be all FIAT
       276
             436197187 John Hyman                           2/24/2018 4:27:37     It's fiat again
                                                                                                    ''""'
                                                            AM(UTC+o)
       277
             436197187 John Hyman                           2/24/2018 4:27:48
                                                            AM(UTC+O)
       278
             436197187 John Hyman                           2/24/2018 4:28:28     We are collecting interest via these forms which
                                                            AM(UTC+O)             indica te non binding interest
       279
             436197187 John Hyman                           2/24/2018 4:28:53     Happy to chat live if you wa nt an update and
                                                            AM(UTC+O)             more colour
       280
                                     436197187 John Hyman   2/24/2018 6:56:55     Always keen to hear more colour - can speak now
                                                            AM(UTC+0)             or in the morning
       281
             436197187 John Hyman                           2/24/20 18 7:07:35    phone ca ll
                                                            AM(UTC+0)
       282
                                     436197187 John Hyman   2/24/2018 7:21:07     phone call
                                                            AM(UTC+0)
       283
             4361971 87 John Hyman                          3/1/2018 5:09:36      Hi       have you seen any green market activity in
       284                                                  AM UTC-+0             the t ele ram tokens
             436197187 John Hyman                           3/1/2018 5:30:11      Grey market
       285                                                  A"""~--im




FOIA Confidential Treatment Requested by Telegram Group Inc,                                                                            TG-007-00000730
                                                                                  I
                                     4 36197187 John Hyman    3/1/2018 6:41:58    f's been quiet lately. We saw a deal fall .apart two
                                                              PM(UTC+O)           Jdays ago as the buyers are kind of marginal now
       286
                                     4 36197187 John Hymc1n   3/1/2018 6:42:30     Interest in second round kind of muted .ts the
                                                              PM(UTC-+0)           market has been moving sideways and lots of
       287
                                     436197187 John Hyman     3/1/2018 6:4 2:59    You guys were namechecked in the WSJ a rticle
       288                                                    PMI UTC-tOI           esterdav - evervone is ve1v nervous
             <l36197187 John Hyman                            3/1/2018 6:43:54     Thanks do you have any interest in round 2?
       289                                                    PMflJTC+OI
                                     4 36197187 John Hyman    3/2/2018 5:06:41     I dont think we are lakers in this round - u ni get
                                                              PM(UTCtO)            things t ogether quickly enough as we are in t he
                                                                                   process of buying our BO and standing up the
                                                                                   trading business. Our fund LPs are happy with first
       290
             436197187 John Hyman                             3/2/2018 5:33:48     Got it any gossip /colour on grams helpful
       291                                                    PM/UTC+OI
                                     436197187 John Hyman     3/3/2018 6:11:45     There's a debate going on around whether the
                                                              PM(UTC+O)            TON effective forward contract is under a 12
                                                                                   months hold /label under regulation D, and
                                                                                   whether it's legal to transfer ownership, as well as
                                                                                   who's responsibility It is to make sure that
                                                                                   tra nsfer.1bility is not achieved. The 1 2 mos hold
                                                                                   could be as short as 90 d.1ys for .1n on-sale to a
                                                                                   qualifi('(! or accr('(!ited buyer.
       292
                                     436197187 John Hyman     3/3/2018 6:12:13     First round pricing still looks to be c. 70-80 cents
       293                                                    PM(UTC+O)
             436197187 John Hyman                             3/19/2018 8:55:53    How are things -most markets look a bit dicey?
                                                              PM(UTC+O)
       294
             436197187 John Hyman                             3/19/2018 8:56:12    Any flow in Telegram round 1 stuff
                                                              PM(UTC+O)
       295
                                     436197187 John Hyman     3/21/20 1812:02:10 lt'sall very soft
                                                              AM(UTC+O)
       296
                                     436197187 John Hyman     3/21/201812:03:08 The round 1 stuff is now among b1okers, losers
                                                              AM(UTC+O)         and time-wasters. Don' t see real deals getting
       297
                                     436197187 John Hyman     3/21/201812:03:23   IIheard you dosed rourn:I 2?
                                                              AM(UTC+O)
       298
             436197187 John Hyman                             3/21/201812:03:43 Yup850 more
                                                              AM(UTC+O)
       299




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